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  1   Erin P. Moriarty (SBN 146751)
      LAW OFFICES OF WENETA M.A. KOSMALA
  2   3 MacArthur Place, Suite 760
      Santa Ana, CA 92707
  3   Telephone:     (714) 540-3600
      Facsimile:     (714) 509-1760
  4   E-mail:        emoriarty@kosmalalaw.com
  5   General Counsel for
      Weneta M.A. Kosmala, Chapter 7 Trustee
  6
  7
  8                         UNITED STATES BANKRUPTCY COURT
  9             CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
 10
 11   In re                                    )   Case No. 8:18-bk-10566-ES
                                               )
 12   EUGENE MARTIN HUAPAYA,                   )   Chapter 7
                                               )
 13                Debtor(s).                  )   NOTICE OF MOTION AND MOTION
                                               )   FOR ORDER COMPELLING
 14                                            )   TURNOVER OF REAL PROPERTY OF
                                               )   THE ESTATE, REQUIRING VACATING
 15                                            )   OF PREMISES, AND ALLOWING
                                               )   TRUSTEE TO EXERCISE ALL LEGAL
 16                                            )   REMEDIES TO OBTAIN POSSESSION;
                                               )   MEMORANDUM OF POINTS AND
 17                                            )   AUTHORITIES; DECLARATIONS OF
                                               )   WENETA M.A. KOSMALA AND
 18                                            )   DEBORAH PRIEBE IN SUPPORT
                                               )   THEREOF
 19                                            )
                                               )   Date: November 8, 2018
 20                                            )   Time: 10:30 a.m.
                                               )   Ctrm: 5A
 21
 22   TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY
 23   JUDGE; THE DEBTOR AND HIS ATTORNEY OF RECORD; ALL OTHERS
 24   OCCUPYING AND/OR IN POSSESSION OF REAL PROPERTY LOCATED AT 10522
 25   BRIER LANE, SANTA ANA, CALIFORNIA 92705; AND ALL INTERESTED PARTIES:
 26   ///
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  1          PLEASE TAKE NOTICE that on November 8, 2018 at 10:30 a.m. in Courtroom 5A of
  2   the above-captioned Court, located at 411 W. Fourth Street, Santa Ana, California, Weneta M.A.
  3   Kosmala ("Trustee"), Chapter 7 trustee of the bankruptcy estate of Eugene Martin Huapaya
  4   ("Debtor"), will and hereby does move the Court for an Order:
  5          1.      Granting Trustee possession of residential real property of the Estate located at
  6   10522 Brier Lane, Santa Ana, CA 92705 (“Property”). Trustee is informed and believes that the
  7   Debtor is the only occupant of the Property.
  8          2.      Determining that the Debtor and any other occupants are not entitled to
  9   possession of the Property.
 10          3.      Compelling the immediate turnover of the Property to Trustee by the Debtor and
 11   all other occupants.
 12          4.      Requiring that the Debtor and all other occupants vacate and surrender the
 13   Property to Trustee immediately.
 14          5.      Directing that, upon Trustee’s request, any appropriate enforcement authority
 15   (including the United States Marshal or the Orange County Sheriff’s Department) may take all
 16   necessary steps to evict the Debtor and all other occupants from the Property, and may assist in
 17   recovering possession of the Property for Trustee.
 18          6.      Enjoining the Debtor and all other occupants from damaging the Property in any
 19   way, or removing any non-exempt items of personal property of the Estate, including fixtures.
 20          This Motion is made on the grounds that the Property is property of the Estate (11 U.S.C.
 21   § 541(a)) which Trustee may sell for the benefit of the Estate (11 U.S.C. § 363(b)(1)); Trustee is
 22   entitled to turnover and possession of the Property (11 U.S.C. § 542(a)); and therefore Trustee is
 23   entitled to an Order requiring that the Debtor and all other occupants vacate and surrender the
 24   Property to Trustee, and allowing Trustee to employ all legal remedies to obtain possession (11
 25   U.S.C. § 105(a)).
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  1             This Motion is based upon this Notice of Motion and Motion, the incorporated
  2   Memorandum of Points and Authorities, the Declaration of Weneta M.A. Kosmala, and upon
  3   such other and further evidence as the Court may admit in connection with the hearing of this
  4   matter.
  5             PLEASE TAKE FURTHER NOTICE that Local Bankruptcy Rule 9013-1(f) requires
  6   that each party interested in opposing, joining or responding to this Motion file a formal response
  7   not later than fourteen (14) days before the hearing. Under Local Bankruptcy Rule 9013-1(h),
  8   papers not timely filed and served may be deemed by the Court to be consent to the granting of
  9   the relief requested in this Motion.
 10
                                                    LAW OFFICES OF WENETA M.A. KOSMALA
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 12
      Date: October 4, 2018                         /s/ Erin P. Moriarty
 13                                                 Erin P. Moriarty
                                                    Attorneys for Chapter 7 Trustee
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  1                           MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.     FACTS.
  3          1.      Eugene Martin Huapaya (“Debtor”) initiated the captioned case by the filing of a
  4   Voluntary Petition on February 21, 2018. Weneta M.A. Kosmala (“Trustee”) is the duly
  5   appointed and acting Chapter 7 trustee of the resulting bankruptcy estate (“Estate”).
  6          2.      In recognition of a Chapter 7 discharge received by the Debtor in a prior 2015
  7   bankruptcy case, the Debtor has entered into a Stipulation with the Office of the United States
  8   Trustee agreeing that he is not entitled to a discharge in this case. The Court approved the
  9   Stipulation by Order entered March 5, 2018 (Docket No. 12).
 10          3.      True and correct copies of the Debtor’s schedules and Statement of Financial
 11   Affairs are attached collectively as Exhibit “A” to the Declaration of Weneta M.A. Kosmala.
 12   Those documents show the following:
 13                  a.      On Schedule A/B, the Debtor scheduled his interest in real property
 14   located at 10522 Brier Lane, Santa Ana, CA 92705 (“Property”), which is his residence. The
 15   Debtor scheduled the value of the Property as $2,050,000. The Debtor has testified that he is the
 16   only occupant of the Property.
 17                  b.      On Schedule D, the Debtor scheduled two liens in the total amount of
 18   $1,334,576 against the Property.
 19                  c.      The Debtor claimed an exemption in the Property under
 20   Cal.Civ.Proc.Code § 704.730 in the amount of $175,000.
 21          4.      During his Trustee Meeting under 11 U.S.C. § 341(a), the Debtor acknowledged
 22   that he was delinquent on his mortgage obligations by several months at the time of his
 23   bankruptcy filing.
 24          5.      Trustee has consulted with a real estate agent, who has advised that the Debtor’s
 25   valuation of the Property is unrealistic, and that the Property would likely not sell for more than
 26   $1,400,000 in the current market.
 27   ///
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  1          6.      Trustee has also obtained current mortgage balance information. The total of all
  2   liens and projected costs of sale (approximately 7%) exceeds $1,400,000. Thus, the Property is
  3   “underwater”, with no equity for the Debtor’s exemption claim to attach to, much less any “net”
  4   equity for the Estate.
  5          7.      Although the Debtor indicated on his Statement of Intention that he intended to
  6   retain the Property, Trustee, through counsel, was contacted by the Debtor’s counsel, who
  7   conveyed the Debtor’s interest in conducting a “short sale” of the Property.
  8          8.      After some time of attempting to negotiate with the holder of the senior liens, the
  9   Debtor’s counsel advised Trustee’s counsel that he was not able to obtain the agreement of the
 10   Debtor’s institutional lender to a short sale, and that the Debtor was resigned to being unable to
 11   retain the Property.
 12          9.      Trustee communicated with her own agent, a short sale expert, who indicated that
 13   through her contacts, she would be able to obtain short sale authority. The short sale expert
 14   would obtain the necessary approvals of all lienholders to accept a proposed sale price, net of
 15   costs of sale (including commissions), and to release their liens. Although there is no equity at
 16   the bottom of the sale calculation, the terms of sale would include the payment of a “buyer’s
 17   premium” on top of the sale price, which would serve as a “Trustee Release Fee”. The Trustee
 18   Release Fee, calculated as a percentage of the actual sale price, would be approximately $67,750
 19   on a $1,400,000 sale. This would create a benefit for the Estate, notwithstanding the lack of
 20   equity in the Property.
 21          10.     Trustee filed an employment application for the short sale expert, Deborah Priebe
 22   of the Dyson Companies, on August 23, 2018 (Docket No. 35). There has been no opposition to
 23   the application, and an Order is being lodged.
 24          11.     Trustee, through counsel, communicated with the Debtor’s counsel, who indicated
 25   the Debtor’s willingness to cooperate in the proposed sale. Trustee put the Debtor directly in
 26   touch with her agent, and initially the Debtor cooperated in making the Property available for
 27   inspection and for marketing.
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  1          12.     Shortly thereafter, disturbing problems began to arise in the relationship. The
  2   Debtor advised the agent, through her associates, that his counsel had told him that he would
  3   receive funds out of the short sale of the Property. Not only have the agents communicated to
  4   him that this is not the case, but Trustee’s counsel has communicated with the Debtor’s counsel,
  5   who has advised that he has not made any such representation to the Debtor.
  6          13.     Further, the Debtor has interfered with the marketing of the Property by stating to
  7   prospective buyers certain terms of the sale that are simply not true, but which may be
  8   suppressing interest in the Property. Trustee’s agents attempted to curb the problem by advising
  9   the Debtor that he may not be present when the Property is being shown, but he has persisted in
 10   communicating with prospective bidders during showings.
 11          14.     The Debtor has also indicated to the agent’s associates that he intends to sell a
 12   portion of the Property himself, and to retain the proceeds, simply “not telling anyone” about the
 13   sale. His intent is defeated by his own disclosure of his plan to Trustee’s agents, but in any case,
 14   the parcel he refers to is a part of the Property, under the same APN, is encumbered by the liens
 15   attaching to the entirety of the Property, and is property of the Estate. Although he has been
 16   advised of these facts, he persists in representing that he intends to sell a portion of the Property.
 17          15.     Finally, the Debtor has now shut down his cooperation, and will not allow
 18   Trustee’s agents access to the Property. The Debtor has refused to sign an agreement which
 19   provides for the terms of his occupancy during marketing, and for his vacating of the Property
 20   once an offer is received. Trustee now has no access to the Property.
 21          16.     The Debtor has no realizable monetary stake in the Property due to the lack of
 22   equity. He has already taken a stab at conducting a short sale of his own, and has been
 23   unsuccessful. Trustee has an opportunity to create value for the Estate, without impairing any
 24   legally cognizable interest of the Debtor in the Property. If Trustee is not able to sell the
 25   Property upon the foregoing terms, it is likely that the Property will be foreclosed – and no one
 26   will receive anything from it, other than the foreclosing lender.
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  1   II.     TRUSTEE IS ENTITLED TO POSSESSION OF THE PROPERTY.
  2           The Property is clearly property of the Estate. 11 U.S.C. § 541(a)(1). Trustee may sell
  3   property of the Estate outside of the ordinary course of business under 11 U.S.C. § 363(b). Any
  4   party in possession of property which Trustee may sell “shall deliver to the trustee, and account
  5   for, such property….” 11 U.S.C. § 542(a).
  6           Although generally trustees are prohibited from selling overencumbered property,
  7   creative agreements which result in a benefit for unsecured creditors of the estate are
  8   permissible. See i.e. In re KVN Corp., Inc., 514 B.R. 1, 6-7 (9th Cir. BAP 2014) [“Despite the
  9   general rule prohibiting the sale of fully encumbered property, chapter 7 trustees may seek to
 10   justify the sale through a negotiated carve-out agreement with the secured creditor.”].
 11           The value created by a trustee for the estate in the overencumbered property is not subject
 12   to a debtor’s homestead exemption. In re Bunn-Rodemann, 491 B.R. 132, 136 (Bankr. E.D. Cal.
 13   2013) [“The Debtor does not have, and cannot claim an exemption in, the rights and powers of
 14   the Chapter 7 Trustee to sell property of the estate and for the estate to receive ‘incentive
 15   payments’ for the efforts of the estate's representatives (Chapter 7 Trustee and estate employed
 16   real estate broker) in selling such Property. The creditor is free to pay a portion of the
 17   encumbered sales proceeds to whomever it chooses for conducting a short-sale.”]; In re
 18   Baldridge, 553 Fed.Appx. 598, 599 (6th Cir. 2014) 1 [exemption claim under 11 U.S.C. §
 19   522(d)(1) in “carve out” payment retained by trustee after sale of overencumbered property
 20   disallowed; “[t]he district court correctly held that the $28,000 ‘carve out’ itself, recovered by
 21   the Trustee upon closing the sale of debtors’ property, was not part of the estate that could be
 22   subject to debtors’ exemptions at the time the bankruptcy case was commenced.”] Judge
 23   Clarkson of the Central District of California held to the contrary in In re Wilson, 494 B.R. 502
 24   (Bankr. C.D. Cal. 2013). That opinion is not binding in this case, and in any case, is
 25   distinguishable factually, in that the estate’s interest was generated out of the proceeds of the
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        Although this decision was not selected for publication and is therefore treated as “unpublished”, under
 28   Fed.R.App.Proc. 32.1, citation is not prohibited. In accordance with Local Bankruptcy Rule 9013-2(b)(4), a copy of
      the opinion is attached as Exhibit “B” to the Declaration of Weneta M.A. Kosmala.



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  1   debtor’s residence, through a carve-out agreement with the lender. In this case, the value takes
  2   the form of a “buyer’s premium”, to be paid by the buyer directly to Trustee for Trustee’s
  3   accommodation in the sale. The premium is not a part of the equity in the Property itself, did not
  4   exist on the day of filing, and is a result of Trustee’s efforts in administering the Property.
  5
  6   III.   CONCLUSION.
  7          Since the Property is property that Trustee can sell for the benefit of unsecured creditors,
  8   and the Debtor has no interest in the value to be generated for the Estate, the Debtor and any
  9   other occupants must turn over the Property to Trustee, and must cooperate in Trustee’s efforts to
 10   administer the properties. 11 U.S.C. § 541(4); § 542(a). This Court may issue any order,
 11   process or judgment that is necessary or appropriate to carry out the provisions of the
 12   Bankruptcy Code. 11 U.S.C. § 105(a). Therefore, Trustee is entitled to an Order:
 13          1.      Granting Trustee possession of the Property.
 14          2.      Determining that the Debtor and any other occupants are not entitled to
 15   possession of the Property.
 16          3.      Compelling the immediate turnover of the Property to Trustee by the Debtor and
 17   all other occupants.
 18          4.      Requiring that the Debtor and all other occupants vacate and surrender the
 19   Property to Trustee immediately.
 20          5.      Directing that, upon Trustee’s request, any appropriate enforcement authority
 21   (including the United States Marshal or the Orange County Sheriff’s Department) may take all
 22   necessary steps to evict the Debtor and all other occupants from the Property, and may assist in
 23   recovering possession of the Property for Trustee.
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  1          6.     Enjoining the Debtor and all other occupants from damaging the Property in any
  2   way, or removing any non-exempt items of personal property of the Estate, including fixtures.
  3
                                      Respectfully submitted,
  4
  5                                   LAW OFFICES OF WENETA M.A. KOSMALA

  6   Dated: October 4, 2018          _/s/ Erin P. Moriarty
                                      Erin P. Moriarty
  7
                                      Attorneys for Weneta M.A. Kosmala,
  8                                   Chapter 7 Trustee

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  1                         DECLARATION OF WENETA M.A. KOSMALA
  2           I, Weneta M.A. Kosmala, declare:
  3           1.     I am the duly appointed and acting Chapter 7 trustee of the bankruptcy estate
  4   (“Estate”) of Eugene Martin Huapaya (“Debtor”). I make this declaration based upon facts that
  5   are within my personal knowledge, have been gathered in the course of my service in this case,
  6   or are matters of public record. If called upon to testify thereto, I could and would competently
  7   so testify.
  8           2.     The Debtor initiated the captioned case by the filing of a Voluntary Petition on
  9   February 21, 2018.
 10           3.     In recognition of a Chapter 7 discharge received by the Debtor in a prior 2015
 11   bankruptcy case, the Debtor has entered into a Stipulation with the Office of the United States
 12   Trustee agreeing that he is not entitled to a discharge in this case. The Court approved the
 13   Stipulation by Order entered March 5, 2018 (Docket No. 12).
 14           4.     True and correct copies of the Debtor’s schedules and Statement of Financial
 15   Affairs are attached hereto and incorporated herein by this reference collectively as Exhibit “A”.
 16   Those documents show the following:
 17                  a.     On Schedule A/B, the Debtor scheduled his interest in real property
 18   located at 10522 Brier Lane, Santa Ana, CA 92705 (“Property”), which is his residence. The
 19   Debtor scheduled the value of the Property as $2,050,000. The Debtor has testified that he is the
 20   only occupant of the Property.
 21                  b.     On Schedule D, the Debtor scheduled two liens in the total amount of
 22   $1,334,576 against the Property.
 23                  c.     The Debtor claimed an exemption in the Property under
 24   Cal.Civ.Proc.Code § 704.730 in the amount of $175,000.
 25           5.     During his Trustee Meeting under 11 U.S.C. § 341(a), the Debtor acknowledged
 26   that he was delinquent on his mortgage obligations by several months at the time of his
 27   bankruptcy filing.
 28   ///



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  1          6.      I have consulted with a real estate agent, who has advised that the Debtor’s
  2   valuation of the Property is unrealistic, and that the Property would likely not sell for more than
  3   $1,400,000 in the current market.
  4          7.      I have also obtained current mortgage balance information. The total of all liens
  5   and projected costs of sale (approximately 7%) exceeds $1,400,000. Thus, the Property is
  6   “underwater”, with no equity for the Debtor’s exemption claim to attach to, much less any “net”
  7   equity for the Estate.
  8          8.      Although the Debtor indicated on his Statement of Intention that he intended to
  9   retain the Property, my counsel was contacted by the Debtor’s counsel, who conveyed the
 10   Debtor’s interest in conducting a “short sale” of the Property.
 11          9.      After some time of attempting to negotiate with the holder of the senior liens, the
 12   Debtor’s counsel advised my counsel that he was not able to obtain the agreement of the
 13   Debtor’s institutional lender to a short sale, and that the Debtor was resigned to being unable to
 14   retain the Property.
 15          10.     I communicated with my own agent, a short sale expert, who indicated that
 16   through her contacts, she would be able to obtain short sale authority. The short sale expert
 17   would obtain the necessary approvals of all lienholders to accept a proposed sale price, net of
 18   costs of sale (including commissions), and to release their liens. Although there is no equity at
 19   the bottom of the sale calculation, the terms of sale would include the payment of a “buyer’s
 20   premium” on top of the sale price, which would serve as a “Trustee Release Fee”. The Trustee
 21   Release Fee, calculated as a percentage of the actual sale price, would be approximately $67,750
 22   on a $1,400,000 sale. This would create a benefit for the Estate, notwithstanding the lack of
 23   equity in the Property.
 24          11.     I filed an employment application for the short sale expert, Deborah Priebe of the
 25   Dyson Companies, on August 23, 2018 (Docket No. 35). There has been no opposition to the
 26   application, and an Order is being lodged.
 27          12.     Through counsel, I communicated with the Debtor’s counsel, who indicated the
 28   Debtor’s willingness to cooperate in the proposed sale. I put the Debtor directly in touch with



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  1   my agent, and initially the Debtor cooperated in making the Property available for inspection and
  2   for marketing.
  3          13.       Shortly thereafter, disturbing problems began to arise in the relationship. The
  4   Debtor advised the agent, through her associates, that his counsel had told him that he would
  5   receive funds out of the short sale of the Property. Not only have the agents communicated to
  6   him that this is not the case, but my counsel has communicated with the Debtor’s counsel, who
  7   has advised that he has not made any such representation to the Debtor.
  8          14.       Further, the Debtor has interfered with the marketing of the Property by stating to
  9   prospective buyers certain terms of the sale that are simply not true, but which may be
 10   suppressing interest in the Property. My agents attempted to curb the problem by advising the
 11   Debtor that he may not be present when the Property is being shown, but he has persisted in
 12   communicating with prospective bidders during showings.
 13          15.       The Debtor has also indicated to the agent’s associates that he intends to sell a
 14   portion of the Property himself, and to retain the proceeds, simply “not telling anyone” about the
 15   sale. His intent is defeated by his own disclosure of his plan to my agents, but in any case, the
 16   parcel he refers to is a part of the Property, under the same APN, is encumbered by the liens
 17   attaching to the entirety of the Property, and is property of the Estate. Although he has been
 18   advised of these facts, he persists in representing that he intends to sell a portion of the Property.
 19          16.       Finally, the Debtor has now shut down his cooperation, and will not allow my
 20   agents access to the Property. The Debtor has refused to sign an agreement which provides for
 21   the terms of his occupancy during marketing, and for his vacating of the Property once an offer is
 22   received. I now have no access to the Property.
 23          17.       The Debtor has no realizable monetary stake in the Property due to the lack of
 24   equity. He has already taken a stab at conducting a short sale of his own, and has been
 25   unsuccessful. I have an opportunity to create value for the Estate, without impairing any legally
 26   cognizable interest of the Debtor in the Property. If I am not able to sell the Property upon the
 27   foregoing terms, it is likely that the Property will be foreclosed – and no one will receive
 28   anything from it, other than the foreclosing lender.



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                                Exhibit "A"
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                                                                                               55
 Fill in this information to identify your case:

 Debtor 1                   Eugene Martin Huapaya
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

 Case number           8:18-bk-10566 ES
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $          2,053,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $              79,678.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $          2,132,678.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $          1,356,211.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $              22,506.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $              59,623.00


                                                                                                                                     Your total liabilities $              1,438,340.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $                2,650.60

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $              13,370.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                                                                                                                                                 Exhibit A Page 14
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 Debtor 1      Eugene Martin Huapaya                                                      Case number (if known) 8:18-bk-10566 ES

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $               724.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            22,506.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            41,463.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             63,969.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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                                                                                                     55
 Fill in this information to identify your case and this filing:

 Debtor 1                    Eugene Martin Huapaya
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number            8:18-bk-10566 ES                                                                                                                            Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        10522 Brier Lane                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the          Current value of the
        Santa Ana                         CA        92705-1506                         Land                                       entire property?              portion you own?
        City                              State              ZIP Code                  Investment property                            $2,050,000.00                  $2,050,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Orange                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                      page 1
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 Debtor 1         Eugene Martin Huapaya                                                                                         Case number (if known)          8:18-bk-10566 ES

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply

                                                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the           Current value of the
                                                                                      Land                                            entire property?               portion you own?
        City                              State              ZIP Code                 Investment property                                        $3,000.00                      $3,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only
                                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Timeshare


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                            $2,053,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Nissan                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Altima                                             Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2014                                               Debtor 2 only                                               Current value of the          Current value of the
          Approximate mileage:                        35000                Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $21,000.00                     $21,000.00
                                                                           (see instructions)



  3.2     Make:         Hyundai                                         Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Genesis 80                                         Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2017                                               Debtor 2 only                                               Current value of the          Current value of the
          Approximate mileage:                        12000                Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $39,888.00                     $39,888.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



Official Form 106A/B                                                             Schedule A/B: Property                                                                                page 2
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 Debtor 1       Eugene Martin Huapaya                                                                               Case number (if known)      8:18-bk-10566 ES

 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>              $60,888.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods & Furnishings                                                                                             $10,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books Records & Pictures                                                                                                      $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Wearing Apparel                                                                                                             $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry                                                                                                                     $3,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....



Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 3
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 Debtor 1         Eugene Martin Huapaya                                                                                       Case number (if known)   8:18-bk-10566 ES
14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $15,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on Hand                            $120.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               Bank of the West checking & Savings                                  $3,000.00



                                              17.2.                                               Bank of West                                                           $170.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  Mesa Global Sales Inc                                                            70%           %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 1         Eugene Martin Huapaya                                                                       Case number (if known)      8:18-bk-10566 ES
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                             Surrender or refund
                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..



Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 5
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 Debtor 1         Eugene Martin Huapaya                                                                                                 Case number (if known)   8:18-bk-10566 ES
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                 $3,290.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $2,053,000.00
 56. Part 2: Total vehicles, line 5                                                                           $60,888.00
 57. Part 3: Total personal and household items, line 15                                                      $15,500.00
 58. Part 4: Total financial assets, line 36                                                                   $3,290.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $79,678.00              Copy personal property total             $79,678.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $2,132,678.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 6
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                                                                                          55
 Fill in this information to identify your case:

 Debtor 1                 Eugene Martin Huapaya
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           8:18-bk-10566 ES
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      10522 Brier Lane Santa Ana, CA                                 $2,050,000.00                            $175,000.00      C.C.P. § 704.730
      92705-1506 Orange County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2014 Nissan Altima 35000 miles                                   $21,000.00                                $2,000.00     C.C.P. § 704.010
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2017 Hyundai Genesis 80 12000                                    $39,888.00                                $1,050.00     C.C.P. § 704.010
      miles
      Line from Schedule A/B: 3.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Goods & Furnishings                                    $10,000.00                              $10,000.00      C.C.P. § 704.020
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Books Records & Pictures                                            $500.00                                  $500.00     C.C.P. § 704.040
      Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Eugene Martin Huapaya                                                                       Case number (if known)     8:18-bk-10566 ES
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Wearing Apparel                                                  $2,000.00                                  $2,000.00        C.C.P. § 704.020
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry                                                          $3,000.00                                  $3,000.00        C.C.P. § 704.040
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on Hand                                                        $120.00                                   $120.00        C.C.P. § 704.070
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bank of the West checking & Savings                              $3,000.00                                  $3,000.00        C.C.P. § 704.080
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bank of the West checking & Savings                              $3,000.00                                  $1,000.00        C.C.P. § 704.070
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bank of West                                                        $170.00                                   $170.00        C.C.P. § 704.080
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                                                                                                                           Exhibit A Page 23
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                                                                                                      13:02:26                                            Desc
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                                                                                    11 of 55
                                                                                          36
 Fill in this information to identify your case:

 Debtor 1                   Eugene Martin Huapaya
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           8:18-bk-10566 ES
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Genesis Finance                          Describe the property that secures the claim:                         $0.00            $39,888.00                     $0.00
         Creditor's Name                          2017 Hyundai Genesis 80 12000
                                                  miles
                                                  As of the date you file, the claim is: Check all that
         PO Box 660891                            apply.
         Dallas, TX 75266                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Auto Lease
       community debt

 Date debt was incurred          1/17                      Last 4 digits of account number        1362

         Nissan Motor
 2.2                                                                                                            $21,635.00               $21,000.00               $635.00
         Acceptance Corp                          Describe the property that secures the claim:
         Creditor's Name                          2014 Nissan Altima 35000 miles
         NMAC Bankruptcy
         Department
                                                  As of the date you file, the claim is: Check all that
         PO Box 660366                            apply.
         Dallas, TX 75266-0366                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
       community debt

 Date debt was incurred          2/15                      Last 4 digits of account number        0001

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Eugene Martin Huapaya                                                                               Case number (if know)   8:18-bk-10566 ES
               First Name                  Middle Name                      Last Name




         Quality Loan Service
 2.3                                                                                                                       $0.00      $2,050,000.00              $0.00
         Corp                                       Describe the property that secures the claim:
         Creditor's Name                            10522 Brier Lane Santa Ana, CA
                                                    92705-1506 Orange County
         411 Ivy Street
                                                    As of the date you file, the claim is: Check all that
         Suite 1720                                 apply.
         San Diego, CA 92101                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Foreclosure Agent
       community debt

 Date debt was incurred                                      Last 4 digits of account number         2011

 2.4     Timothy Love                               Describe the property that secures the claim:                   $60,000.00        $2,050,000.00              $0.00
         Creditor's Name                            10522 Brier Lane Santa Ana, CA
         C/O Joseph C. Rosenblat                    92705-1506 Orange County
         1370 N. Brea Road
                                                    As of the date you file, the claim is: Check all that
         Suite 235                                  apply.
         Fullerton, CA 92835                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         2270

 2.5     Wells Fargo                                Describe the property that secures the claim:                $1,274,576.00        $2,050,000.00              $0.00
         Creditor's Name                            10522 Brier Lane Santa Ana, CA
                                                    92705-1506 Orange County
         PO Box 10347
                                                    As of the date you file, the claim is: Check all that
         Des Moines, IA                             apply.
         50306-0347                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9404




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
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 Debtor 1 Eugene Martin Huapaya                                                                   Case number (if know)        8:18-bk-10566 ES
              First Name                Middle Name                  Last Name


   Add the dollar value of your entries in Column A on this page. Write that number here:                     $1,356,211.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                    $1,356,211.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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                                                                                          36
 Fill in this information to identify your case:

 Debtor 1                     Eugene Martin Huapaya
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

 Case number           8:18-bk-10566 ES
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number       9592             $22,506.00             $22,506.00                    $0.00
              Priority Creditor's Name
              Centralized Insolvency                                 When was the debt incurred?           2014 & 2016
              Operations
              PO Box 7346
              Philadelphia, PA 19114
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Tax Year 2014 & 2016

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 5
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 Debtor 1 Eugene Martin Huapaya                                                                           Case number (if know)         8:18-bk-10566 ES

 4.1      Capital One                                                Last 4 digits of account number       7805                                                 $3,695.00
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line


 4.2      Comenity/Lending Club                                      Last 4 digits of account number       8097                                                 $1,783.00
          Nonpriority Creditor's Name
          71 Stevenson, Ste 300                                      When was the debt incurred?
          San Francisco, CA 94105
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line


 4.3      Credit One Bank                                            Last 4 digits of account number       4796                                                   $716.00
          Nonpriority Creditor's Name
          PO Box 98873                                               When was the debt incurred?
          Las Vegas, NV 89193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 2 of 5
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 Debtor 1 Eugene Martin Huapaya                                                                           Case number (if know)         8:18-bk-10566 ES

 4.4      ED Scheck                                                  Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          PO Box 11                                                  When was the debt incurred?
          Balboa Island, CA 92662
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Federal Loan Serving                                       Last 4 digits of account number       0002                                               $41,463.00
          Nonpriority Creditor's Name
          PO Box 60610                                               When was the debt incurred?           8/13
          Harrisburg, PA 17106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.6      Lucky Confections, Inc                                     Last 4 digits of account number                                                            $5,000.00
          Nonpriority Creditor's Name
          9701 Panamerican Drive, Ste. H                             When was the debt incurred?
          El Paso, TX 79927
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Advances




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 3 of 5
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                                                                                          36
 Debtor 1 Eugene Martin Huapaya                                                                           Case number (if know)          8:18-bk-10566 ES

 4.7       Nordstron TD Bank                                         Last 4 digits of account number        6638                                                 $6,966.00
           Nonpriority Creditor's Name
           PO Box 13589                                              When was the debt incurred?
           Scottsdale, AZ 35267-3589
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Line


 4.8       US Department of Education                                Last 4 digits of account number                                                                   $0.00
           Nonpriority Creditor's Name
           C/O Fedloan Servicing                                     When was the debt incurred?
           PO Box 69184
           Harrisburg, PA 17106-9184
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Duplicate

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                      22,506.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      22,506.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                      41,463.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.       $

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 4 of 5
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                                                                                          36
 Debtor 1 Eugene Martin Huapaya                                                                  Case number (if know)   8:18-bk-10566 ES
                              here.                                                                                       18,160.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                          6j.      $             59,623.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 5 of 5
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                                                                                            36
 Fill in this information to identify your case:

 Debtor 1                  Eugene Martin Huapaya
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

 Case number           8:18-bk-10566 ES
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Genesis Finance
               PO Box 660891
               Dallas, TX 75266




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                                                                                                      Exhibit A Page 32
               Case 8:18-bk-10566-ES                                 Doc 45
                                                                         14 Filed 10/10/18
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                                                                                                             13:02:26                         Desc
                                                                     Main Document    Page 34
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                                                                                                 36
 Fill in this information to identify your case:

 Debtor 1                     Eugene Martin Huapaya
                              First Name                            Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                   CENTRAL DISTRICT OF CALIFORNIA

 Case number             8:18-bk-10566 ES
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




    3.2                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Eugene Martin Huapaya

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               8:18-bk-10566 ES                                                               Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $                 0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$                0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $          0.00




Official Form 106I                                                      Schedule I: Your Income                                      Exhibit A Page 34 page 1
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Debtor 1    Eugene Martin Huapaya                                                                 Case number (if known)    8:18-bk-10566 ES


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                0.00
      5e.   Insurance                                                                      5e.        $              0.00     $                0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $                0.00
      5g.   Union dues                                                                     5g.        $              0.00     $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $                0.00
      8d. Unemployment compensation                                                        8d.        $          0.00         $                0.00
      8e. Social Security                                                                  8e.        $      2,650.60         $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,650.60         $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,650.60 + $             0.00 = $            2,650.60
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.   $           2,650.60
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                    Exhibit A Page 35 page 2
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Fill in this information to identify your case:

Debtor 1                 Eugene Martin Huapaya                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           8:18-bk-10566 ES
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            6,901.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            290.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            250.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Eugene Martin Huapaya                                                                     Case number (if known)      8:18-bk-10566 ES

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               345.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               290.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                               165.00
      6d. Other. Specify: Direct TV                                                                          6d.   $                               150.00
             Trash                                                                                                 $                                80.00
7.    Food and housekeeping supplies                                                           7.                  $                               700.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               180.00
10.   Personal care products and services                                                    10.                   $                                60.00
11.   Medical and dental expenses                                                            11.                   $                               100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 340.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  260.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  658.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  501.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              2,000.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                    13,370.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                    13,370.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,650.60
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             13,370.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -10,719.40

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                                                                                                                         Exhibit A Page 37
             Case
}bk1{Form 106Dec     8:18-bk-10566-ES
                 Declaration                        DocSchedules}bk{
                             About an Individual Debtor's 14 Filed
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}bk1{Form 107 Statement of Financial Affairs}bk{   Doc 45
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}bk1{Form 108 Statement                                  Doc
                        of Intention for Individuals Filing    14Ch. 7}bk{
                                                               45
                                                            Under    Filed
                                                                 03/06/18 Entered 10/10/18
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}bk1{Form 122ACase   8:18-bk-10566-ES
               Statement                           Doc 45
                         of Current Monthly Income/Means 14
                                                         Test}bk{Filed
                                                               03/06/18 Entered 10/10/18
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                                 Exhibit “B” 
      
      
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3 MacArthur Place, Suite 760
Santa Ana, CA 92707
                                                                      Notice of Motion and Motion for Order Compelling
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Turnover of Real Property of the Estate, Requiring Vacating of Premises, and Allowing Trustee to Exercise All Legal
________________________________________________________________________________________________
 Remedies to Obtain Possession; Memorandum of Points and Authorities; Declaration of Weneta M.A. Kosmala in
________________________________________________________________________________________________
 Support Thereof
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/10/2018
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              10/10/2018
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Honorable Erithe A. Smith
   United States Bankruptcy Court
   411 W. Fourth Street, Suite 5041
   Santa Ana, CA 92701-4593
                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/10/2018         Janine Fountain                                                             /s/ Janine Fountain
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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ADDITIONAL SERVICE INFORMATION (if needed):

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):

       Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
        wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
       Erin P Moriarty emoriarty@kosmalalaw.com,
        wkosmala@kosmalalaw.com;jfountain@kosmalalaw.com;weneta.kosmala@7trustee.net
       Queenie K Ng queenie.k.ng@usdoj.gov
       Valerie Smith claims@recoverycorp.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Joseph A Weber firmanweber@yahoo.com, centralservice.firmanweber@gmail.com
       Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com

2. SERVED BY UNITED STATES MAIL:
Eugene Martin Huapaya
10522 Brier Lane
Santa Ana, CA 92705

All Occupants residing at
10522 Brier Lane
Santa Ana, CA 92705

Nissan Motor Acceptance Corporation
c/o Stewart, Zlimen & Jungers, Ltd.
2860 Patton Road
Roseville, MN 55113




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
